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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §              Case No: 1:21-cv-04765
                                      §
vs.                                   §              PATENT CASE
                                      §
LANDAIRSEA SYSTEMS, INC.,             §
                                      §
      Defendant.                      §
_____________________________________ §

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this

Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Landairsea Systems, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear

its own fees and costs.

Dated: January 4, 2022.                      Respectfully submitted,


                                             /s/April B. Senter
                                             April Senter
                                             Senter Legal Services, Ltd.
                                             19624 Governors Hwy
                                             Flossmoor, Illinois 60422
                                             708-586-7505
                                             april@senterlegal.com


                                             ATTORNEYS FOR PLAINTIFF




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                            |1
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
January 4, 2022., and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                            /s/April B. Senter
                                            April Senter




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                          |2
